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 1   JOSEPH SCHLESINGER, Bar #87692
     Acting Federal Defender
 2   DOUGLAS BEEVERS, Bar #288639
     Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   QINGHONG LI
 7
 8                          IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )             No.   2:13-cr-0050 KJM
                                     )
12                  Plaintiff,       )            AMENDEDSTIPULATION AND ORDER TO
                                     )            MODIFY CONDITIONS
13        v.                         )            OF PRETRIAL RELEASE
                                     )
14   QINGHONG LI,                    )
                                     )             Date: N.A.
15                                   )             Time: N.A
                    Defendant.       )             Judge: Hon. Kendall J. Newman
16                                   )
     _______________________________ )
17
18         The   United    States      by   and   through   AUSA    Olusere   Olowuyeye,   and
19   defendant, QINGHONG LI, by and through her attorney Douglas Beevers,
20   Assistant Federal Defender, hereby stipulate the Court modify the release
21   conditions for the defendant to permit pretrial services to remove
22   electronic monitoring.         As grounds for this motion, the defendant and the
23   United States state that the defendant has turned in her passport, and
24   the   defendant      has   been    fully     compliant   and    forthcoming   with    her
25   conditions of release. U.S. Pretrial Service Officer Renee Basurto has no
26   objections to the proposed modifications to the conditions which were
27   originally imposed by the Honorable Edmund F. Brennan on February 1, 2013
28   and February 18, 2013.
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 1   Dated: May 1, 2013                        Respectfully submitted,
 2                                             JOSEPH SCHLESINGER
                                               Acting Federal Defender
 3
                                               /s/ Douglas Beevers
 4                                             DOUGLAS BEEVERS
                                               Assistant Federal Defender
 5                                             Attorney for Defendant
                                               QINGHONG LI
 6
 7
     Dated: May 1, 2013                        BENJAMIN B. WAGNER
 8                                             United States Attorney
 9
                                               /s/ Olusere Olowoyeye
10                                             OLUSERE OLOWOYEYE
                                               Assistant United States Attorney
11
12                                           ORDER
13         UPON GOOD CAUSE SHOWN and the stipulation of the above parties, it
14   is ordered that the pretrial release conditions for QINGHONG LI be
15   modified to permit pretrial services to remove electronic monitoring.
16   Dated:    May 1, 2013
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18
19
20
                                               ________________________________
21                                             KENDALL J. NEWMAN
                                               UNITED STATES MAGISTRATE JUDGE
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     Stip and Order: Modify Conditions        -2-
